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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-60338-CIV-COHN/STRAUSS

 MATTHEW SNARSKI,
 individually and on behalf of a class
 of similarly situated individuals,

        Plaintiff,

 v.

 CORAL SPRINGS KGB, INC.,
 d/b/a CORAL SPRINGS HONDA, a
 Florida Corporation,

        Defendant.

                                            /

                                 ORDER STAYING CASE

        THIS CAUSE is before the Court upon the parties’ Joint Stipulation and Motion to

 Stay Proceedings Pending the Supreme Court’s Decision in Facebook, Inc. v. Duguid

 [DE 7] (“Motion”). The Court has reviewed the Motion and is otherwise advised in the

 premises. In the Motion, the parties request an order staying this action until the

 Supreme Court issues an opinion which is expected to clarify what constitutes an

 “automatic telephone dialing system” within the meaning of the Telephone Consumer

 Protection Act. It is anticipated that the opinion will be published this summer.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1.      The Joint Stipulation and Motion to Stay Proceedings Pending the

 Supreme Court’s Decision in Facebook, Inc. v. Duguid [DE 7] is GRANTED;

        2.      This case is STAYED until further order of the Court;

        3.      Trial and Calendar Call in this case are CANCELLED; and
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       4.     The parties shall file a joint status report no later than fourteen (14) days

 after the Supreme Court has issued its opinion in Facebook, Inc. v. Duguid, docket

 number 19-511.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 8th day of March, 2021.




 Copies provided to counsel of record via CM/ECF




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